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                                       IN THE
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                               BIG STONE GAP DIVISION


 HALEY MARIE CANTRELL ADKINS                                                        PLAINTIFF

 ANDREW JORDAN ADKINS                                                               PLAINTIFF

 v. v. Case No. 2:21-cv-00031-JPJ-PMS

 PAULA MEADE HILL COLLINS                                                         DEFENDANT

 MICHAEL MEADE                                                                    DEFENDANT

                      PLAINTIFF’S FIRST AMENDED COMPLAINT

        COMES NOW, Haley Marie Adkins and Andrew Adkins, by Counsel, and hereby

 submits the following in support of their Complaint.

                                            PARTIES

 1.     Haley Marie Adkins and Andrew Adkins are citizens of Virginia, and reside in Wise

        County, Virginia.

 2.     Paula Meade Hill Collins and Michael Meade are citizens of Virginia, and reside in Wise

        County, Virginia.

 3.     Haley Marie Cantrell Adkins is the biological mother of DSA, who is a Minor Child.

 4.     Andrew Jordan Adkins is the legal father of DSA, as a result of a Final Order of

        Adoption entered on July 30, 2021 by the Wise County Circuit Court.

 5.     Paula Meade Hill Collins is the biological mother of David Shane Meade.

 6.     Michael Meade is the adoptive father of David Shane Meade.




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                                   JURISDICTION & VENUE

 7.    At all times relevant to this proceeding, the acts that give rise to this Complaint occurred

       and are occurring in Wise County Virginia.

 8.    Venue is proper pursuant to 28 USC §1391.

 9.    This Court has jurisdiction pursuant to 28 USC §1331, 42 USC §1983 and 42 USC §1985

       (3).

 10.   This Court has jurisdiction of this matter pursuant 28 U.S.C. §1367 to address any

       pendent state claims.

                               FACTS & LEGAL CONCLUSIONS

 11.   David Shane Meade was the biological father of DSA.

 12.   David Shane Meade died on January 6, 2020.

 13.   Prior to the death of the David Shane Meade, divorce proceedings were pending in the

       Wise County Circuit Court between Haley Marie Adkins and David Shane Meade.

 14.   Prior to the death of the David Shane Meade, there were multiple Protective Orders

       entered by the Wise County Juvenile & Domestic Relations District Court against David

       Shane Meade in favor of Haley Marie Adkins as a result of David Shane Meade’s

       substance abuse.

 15.   Prior to the death of the David Shane Meade, David Shane Meade was the suspect in a

       firearms investigation where multiple gun shots were fired into the vehicle of his mother,

       Paula Meade Hill Collins.

 16.   David Shane Meade had an ongoing acrimonious relationship with his mother, Paula

       Meade Hill Collins.



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 17.   Prior to the death of the David Shane Meade, David Shane Meade had limited contact

       with the Minor Child, and did not have overnight visitation with the Minor Child.

 18.   From early 2019, Haley Marie Cantrell Adkins had been the sole primary physical

       custodian of the minor child.

 19.   In June 2020, Paula Meade Hill Collins and Michael Meade filed Petitions in the Wise

       County Juvenile & Domestic Relations District Court seeking to have the Court Order

       Haley Marie Adkins to permit visitation with the Minor Child.

 20.   Haley Marie Adkins objected to the request, relying upon her Constitutional Rights, and

       other factors, including the mental instability of Paula Meade Hill Collins, the

       acrimonious relationship that existed between Paula Meade Hill Collins and her, the fact

       that Paula Meade Hill Collins caused her to be terminated from her employment, and her

       belief that Paula Meade Hill Collins would likely undermine the child parent relationship

       with the Minor Child.

 21.   During the pendency of the litigation in the Wise County Juvenile & Domestic Relations

       District Court, Counsel for Paula Meade Hill Collins and Michael Meade stipulated that

       Haley Marie Cantrell Adkins was a proper and fit parent of the Minor Child.

 22.   During the pendency of the litigation in the Wise County Juvenile & Domestic Relations

       District Court, Counsel for Paula Meade Hill Collins and Michael Meade argued that,

       notwithstanding the above stipulation, Haley Marie Cantrell Adkins had no

       Constitutional Rights that were applicable to the matter, and instead, argued that the

       Court need only consider the “best interests of the child” standard.

 23.   The Wise County Juvenile & Domestic Relations District Court rejected the argument

       that Haley Marie Cantrell Adkins had no Constitutional Rights that were applicable to the
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       matter, and required Paula Meade Hill Collins and Michael Meade to establish by clear

       and convincing evidence that “actual harm” would occur, prior to the Court considering

       “best interests of the child” standard.

 24.   In June 2021, Paula Meade Hill Collins and Michael Meade concluded their evidence in

       the Wise County Juvenile & Domestic Relations District Court.

 25.   Counsel for Haley Marie Cantrell Adkins moved to dismiss the Petitions based on the

       Petitioners’ failure to introduce any evidence that the Minor Child would suffer “actual

       harm” because they were denied visitation. The Wise County Juvenile & Domestic

       Relations District Court granted the Motion to Dismiss based on this failure.

 26.   On or about the early part of 2021, Paula Meade Hill Collins began to lobby vigorously

       for an amendment to the Code of Virginia that would allow her Petition to be exempt

       from the burden of proving “actual harm”, which efforts included communications with

       multiple members of the Virginia General Assembly to gain support for her crusade to

       obtain legislation that would undermine the “actual harm” standard.

 27.   Paula Meade Hill Collins willfully met with individual members of the General

       Assembly in a joint effort to enact §20-124.2 (b) (2).

 28.   As a proximate cause of the efforts of Paula Meade Hill Collins, the 2021 Virginia

       General Assembly enacted §20-124.2 (b) (2), which became effective on July 1, 2021,

       and reads as follows: “In any case or proceeding in which a grandparent has petitioned

       the court for visitation with a minor grandchild, and a natural or adoptive parent of the

       minor grandchild is deceased or incapacitated, the grandparent who is related to such

       deceased or incapacitated parent shall be permitted to introduce evidence of such parent's

       consent to visitation with the grandparent, in accordance with the rules of evidence. If the
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       parent's consent is proven by a preponderance of the evidence, the court may then

       determine if grandparent visitation is in the best interest of the minor grandchild. For the

       purposes of this subsection, "incapacitated parent" has the same meaning ascribed to the

       term "incapacitated person" in § 64.2-2000.”

 29.   Paula Meade Hill Collins and Michael Meade noted their appeal of the June 2021

       decision of the Wise County J&DR District Court, and their Petitions are now pending in

       the Wise County Circuit Court.

 30.   Paula Meade Hill Collins and Michael Meade have announced their intention to enforce

       the newly enacted provision of §20-124.2 for the proposition that they no longer have to

       establish “actual harm”, and the Court need only use a preponderance of evidence burden

       of proof to establish that Court mandated visitation is in the best interests of the Minor

       Child.

 31.   With the aid of the Virginia Courts, Paula Meade Hill Collins and Michael Meade are

       actively engaged in the use of the newly enacted statutory provisions.

 32.   Paula Meade Hill Collins and Michael Meade are aided in their efforts by the

       appointment of a Court Ordered Guardian ad litem, who likewise argues for the use of the

       “best interests” standard, as opposed to the “actual harm” standard that is mandated by

       both the Virginia Constitution and the United States Constitution.

 33.   It is only by the use of the newly enacted statutory provisions created by the joint efforts

       of the Defendants and members of the Virginia General Assembly, and their continued

       use of the Virginia Courts that Paula Meade Hill Collins and Michael Meade are able to

       undermine the Constitutional Rights of Haley Marie Cantrell Adkins and Andrew Jordan

       Adkins.
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 34.   The creation of the new procedural provisions found in §20-124.2 (b) (2) is the result of

       “state action” as that term is used in 42 USC §1983

 35.   Beginning on or about the early part of 2021, Paula Meade Hill Collins and Michael

       Meade schemed, conspired and acted in concert together to deprive Haley Marie Cantrell

       Adkins and Andrew Jordan Adkins of the Constitutional rights as guaranteed by the

       Fourteenth Amendment and the Due Process Clauses.

 36.   Paula Meade Hill Collins and Michael Meade schemed, conspired and acted in concert

       together to have the Virginia General Assembly enact new provisions that would

       undermine the Constitutional Rights of Haley Marie Cantrell Adkins and Andrew Jordan

       Adkins.

 37.   This scheme and conspiracy included vigorous lobbying efforts.

 38.   This scheme and conspiracy the enactment of new statute that abolished the “actual

       harm” standard.

 39.   This scheme and conspiracy included the enactment of new statute that provided for a

       less onerous burden of proof standard.

 40.   This scheme and conspiracy included making attempts to continue the case in the Wise

       County J&DR Court until after July 1, 2021.

 41.   This scheme and conspiracy included the use of the Virginia Courts to apply the new

       procedural provisions found in §20-124.2 (b) (2).

 42.   This scheme and conspiracy included that both would act together to accomplish the goal

       of the scheme and conspiracy.

 43.   The actual fruits of this scheme and conspiracy occurred: (A) vigorous lobbying efforts

       were used; (B) through the lobbying efforts of Paula Meade Hill Collins, the General
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       Assembly enacted §20-124.2 (b) (2); (C) Paula Meade Hill Collins and Michael Meade

       retained additional Counsel just prior to the hearing date in June 2021 in an effort to have

       the J&DR Court continue the case until after July 1, 2021; (D) Paula Meade Hill Collins

       and Michael Meade are actively seeking to enforce the newly enacted §20-124.2 (b) (2).

 44.   The current continued litigation by Paula Meade Hill Collins and Michael Meade is

       causing injury and damages to Haley Marie Cantrell Adkins and Andrew Jordan Adkins,

       to include but not limited to the following: (A) emotional damages; (B) economic injury,

       including attorneys fees and expert witness fees; and (C) nominal damages for the

       violation of their Constitutional Rights.

 45.   Haley Marie Cantrell Adkins and Andrew Jordan Adkins have clearly established

       Constitutional Rights that protect them from any intervention by the Courts in Virginia,

       absent a compelling state interest. The compelling state interest is described by the

       judiciary as requiring a showing that the custodial parents are “unfit” or by establishing

       by clear and convincing evidence that “actual harm” will occur absent Court Ordered

       visitation.

 46.   The enactment of §20-124.2 (b) (2) is violative of both the federal Constitutional Rights

       of Haley Marie Cantrell Adkins and Andrew Jordan Adkins, and the corresponding state

       Constitutional Rights of Haley Marie Cantrell Adkins and Andrew Jordan Adkins.

 47.   §20-124.2 (b) (2) is facially unconstitutional.

 48.   §20-124.2 (b) (2) is unconstitutional as it is being used by Paula Meade Hill Collins and

       Michael Meade in their attempt to seek the assistance of the Virginia Courts to gain

       visitation of the Minor Child over the united objections of the legal parents of the Minor

       Child.
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 49.   There exists an actual justiciable controversy that requires this Court to declare that the

       enactment of §20-124.2 (b) (2) is violative of both the federal Constitutional Rights of

       Haley Marie Cantrell Adkins and Andrew Jordan Adkins, and the corresponding state

       Constitutional Rights of Haley Marie Cantrell Adkins and Andrew Jordan Adkins.

 50.   The unconstitutional attempted enforcement by Paula Meade Hill Collins and Michael

       Meade of §20-124.2 (b) (2) in the pending litigation in the Wise County Circuit Court

       will lead to irreparable harm, including harm to the Minor Child.

 51.   Haley Marie Cantrell Adkins and Andrew Jordan Adkins retained a forensic expert, Dr.

       Dr. Lawhon, who is a licensed forensic psychologist, and has been asked to give expert

       opinions in custody issues over the course of his 20 plus years of practicing forensic

       psychology. Dr. Lawhon has provided expert testimony in the past, including matters in

       both federal and state courts, and in the courts in Virginia, Tennessee, Arizona and

       Florida. His forensic psychology practice includes working with children of all ages.

 52.   Dr. Lawhon conducted a well recognized forensic evaluation of the minor child and

       mother as it relates to the legal issues in this case. He has done his own research on the

       legal issues and is familiar with written articles that would be applicable to the legal

       issues as they pertain to the field of forensic psychology. The subject matter of Dr.

       Lawhon’s testimony is within the field of forensic psychology, and in particular, what

       harm if any is DSA suffering from as a result of the death of his father, what harm if any

       is DSA suffering from as a result of the current lack of visitation or contact with the

       Petitioners, what harm if any will DSA suffer if the Court does not grant visitation and

       what harm if any will DSA suffer if the Court does grant visitation. The following is the

       substance of the facts and opinions of Dr. Lawhon: (1) Forensic Psychology is the well
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       recognized scientific discipline that addresses the legal issues that are the subject of his

       litigation, and forensic psychologists who practice child psychology are the best persons

       to properly evaluate and assess children that are the subject of custody disputes to aid the

       courts in their decision making; (2) There are no well recognized authoritative treatises

       that support any opinion or conclusion that DSA will suffer actual harm if the Petitioners

       are denied visitation with DSA. The current literature suggests that court ordered

       visitation in this type of case in favor of grandparents are more likely to be harmful.

       While there is some literature that will discuss statistical studies on adverse effects on

       children of certain trauma in their lives, it is not appropriate to take that statistical data

       and then extrapolate it to a certain child. Statistical studies that have looked at emotional

       harms from the death of a parent are not a credible predictor for DSA. Each case has its

       own unique circumstances. (3) DSA will not suffer actual harm if the Petitioners are

       denied visitation with DSA. (4) Emotionally, DSA is a well developed child, and he does

       not suffer any clinically identifiable or demonstrated emotional trauma as the result of his

       father’s death in January 2020. (5) It is always a possibility that a sudden death of a

       parent could cause issues for a young child that will need professional intervention that

       could last for extended periods of time. However, in this case it would be speculative at

       best to suggest that DSA would fall within this category. The much more probable

       prognosis for DSA is quite the opposite. It is extremely unlikely that DSA will need

       professional intervention as a result of his father’s death. (6) DSA’s mother appears to

       have addressed the issue of DSA’s father’s death in an appropriate way. (7) DSA is more

       likely to suffer some emotional harm as a result of these proceedings. Contested custody

       litigation is well recognized as creating harmful experiences in children, and in the
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        context of when a grandparent initiates these proceedings, the very real risk is created

        that adversely affects the parental child relationship, to the detriment of the child. (8)

        There is no credible evidence that DSA has created a significant bond with either

        Petitioner.

  53.   The bases for Dr. Lawhon’s opinions and a summary of the grounds for each of Dr.

        Lawhon’s opinions include the following: (A) his education in the field of forensic

        psychology; (B) his training in the field of forensic psychology; (C) his years of

        experience in the field of forensic psychology; (D) his review of written articles that are

        considered authoritative in the field of forensic psychology; (E) his examination and

        evaluation of DSA; (F) his examination and evaluation of Haley Cantrell Adkins; (G) the

        history obtained from both DSA and Haley Cantrell Adkins; (H) the age of the child now

        and the time line of when he last had contact with either Petitioner; (I) the length of time

        that has elapsed since DSA had any meaningful contact with either Petitioner; (J) the fact

        that the mother has been the primary person to assume parental duties for a long period of

        time, without either Petitioner exercising meaningful visitation with DSA; (k) the fact

        that the mother reported that DSA is healthy, both emotionally and physically, and that he

        is doing well in school without any reports of issues that would be signs that he is

        suffering any form of emotional harm.

                                COUNT 1: 42 USC §1983 CLAIM

  54.   The Plaintiffs re-allege Paragraphs 1 through 53.

  55.   In 1998, the Virginia Supreme Court declared that parents have a Fourteenth Amendment

        Constitutional Right when issues of parenting are presented to a court by a person

        seeking visitation. Williams v Williams, 256 Va. 19 (1998). Clear and convincing
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        evidence is required to establish that the denial of visitation would result in actual harm

        to the child’s health and welfare.

  56.   In 2000, the United States Supreme Court affirmed the Washington Supreme Court’s

        decision and the Supreme Court found that the Fourteenth Amendment Constitutional

        Right to Due Process is violated if the state interferes with parents’ decisions concerning

        the care, custody and control of their children, without a showing of harm to the Minor

        Child. Troxel v. Granville, 530 U.S. 57 (2000).

  57.   Since the decision in Williams and Troxell, the Virginia Court of Appeals has steadfastly

        adhered to the “actual harm” standard in cases where third parties seek visitation over the

        objection of the parents. Griffin v Griffin, 41 Va. App.77 (2003); O’Leary v. Moore, 2033

        WL 21524689 Unpublished Opinion: Virginia Court of Appeals: 2003) Richter v

        Manning, 2013 WL 1897657 (Unpublished Opinion: Virginia Court of Appeals: 2013);

        Melton v Melton, 94 Cir. 305 (2016).

  58.   §20-124.2 (b) (2) is facially unconstitutional.

  59.   §20-124.2 (b) (2) is unconstitutional as it is being used and applied by Paula Meade Hill

        Collins and Michael Meade in their attempt to seek the assistance of the Virginia Courts

        to gain visitation of the Minor Child over the united objections of the legal parents of the

        Minor Child.

  60.   Paula Meade Hill Collins and Michael Meade acted under “color of law” in their efforts

        to both enact §20-124.2 (b) (2) and seek application of §20-124.2 (b) (2) in the pending

        litigation in the Wise County Circuit Court.

  61.   Paula Meade Hill Collins and Michael Meade are “state actors” for purposes of 42 USC

        §1983.
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                              COUNT 2: 42 USC §1985 (3) CLAIM

  62.   The Plaintiffs re-allege Paragraphs 1 through 61.

  63.   Paula Meade Hill Collins and Michael Meade conspired to deprive the Plaintiffs of their

        Due Process Rights.

  64.   Paula Meade Hill Collins and Michael Meade violated 42 USC §1985 (3)

                       COUNT 3: STATE CONSTITUTIONAL CLAIM

  65.   The Plaintiffs re-allege Paragraphs 1 through 61.

  66.   The Due Process Clause of the Virginia Constitution provides the same rights to the

        Plaintiffs as the Fourteenth Amendment to the United States Constitution.

  67.   §20-124.2 (b) (2) violates the Plaintiffs Due Process Rights of the Virginia Constitution.

  68.   §20-124.2 (b) (2) violates the Plaintiffs Due Process Rights of the Virginia Constitution

        as it is being used and applied by Paula Meade Hill Collins and Michael Meade in their

        attempt to seek the assistance of the Virginia Courts to gain visitation of the Minor Child

        over the united objections of the legal parents of the Minor Child.

                        COUNT 4: DECLARATORY ACTION CLAIM

  69.   The Plaintiffs re-allege Paragraphs 1 through 61.

  70.   Plaintiffs are entitled to have this Court adjudicate the constitutionality of §20-124.2 (b)

        (2).

  71.   §20-124.2 (b) (2) violates both the federal Constitutional Rights of Haley Marie Cantrell

        Adkins and Andrew Jordan Adkins, and the corresponding state Constitutional Rights of

        Haley Marie Cantrell Adkins and Andrew Jordan Adkins.




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                           COUNT 5: INJUNCTIVE RELIEF CLAIM

  72.    The Plaintiffs re-allege Paragraphs 1 through 61.

  73.    Plaintiffs are entitled to have this Court grant both a temporary and permanent injunction

         for the Plaintiffs to seek enforcement of §20-124.2 (b) (2) in the pending litigation in the

         Wise County Circuit Court.

                             COUNT 5: ATTORNEYS FEES CLAIM

  74.    The Plaintiffs re-allege Paragraphs 1 through 61.

  75.    Plaintiffs are entitled to have their attorneys’ fees and costs paid pursuant to 42 USC

         §1988.

         WHEREFORE, Haley Marie Cantrell Adkins and Andrew Jordan Adkins, by Counsel,

  hereby prays for the following relief:

  (A)    For an Order declaring that §20-124.2 (b) (2) violates both the United States Constitution

         and Virginia Constitution;

  (B)    For a Temporary Injunction Order and Permanent Injunction Order enjoining the

         Defendants from seeking application of §20-124.2 (b) (2);

  (C)    For an Order requiring the Defendants to pay the Plaintiffs’ attorneys fees and costs

         pursuant to 42 USC §1988; and

  (D)    For an order awarding the Plaintiffs reasonable damages and such other legal and

         equitable relief as this Court deems just and proper.




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            HALEY MARIE CANTRELL ADKINS & ANDREW JORDAN ADKINS
                               BY COUNSEL



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                                 CERTIFICATE OF SERVICE

         I, Timothy W. McAfee, do hereby certify that on November 2, 2021 a copy of the

  foregoing 1st Amended Complaint was electronically filed with the Clerk of the Court using

  the CM/ECF system which will send notification of such filing to all Counsel of Record.


                                    /s/ TIMOTHY W. McAFEE




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